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II§SH WQBR,(IH?IF alion Documents Pa,ge 1

 

Check one.
resumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor ’s Staz‘ement in Support of Rea]j‘l`rmatl`on,
Part II below, to determine which box to check

 

 

 

UNITED STATES BANKRUPTCY CoURT
MARYLANI) (BALTIMoRE)

In re Thomas T. Benson Case No. 18-25361
Debl‘or

Chapter _7_
REAFFIRMATION DOCUMENTS
Name of Creditor: M&T Bank

|: Check this box if Creditor is a Credit Union

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90 :l Hd 1283;!6|02

PART I. REAFFIRMATION AGREEMENT

,,,v ¢.
a‘-:

Reaffirming a debt is a serious financial decision. Before entering into this Reaft`lrma ion“*'

Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A. Brief description of the original agreement being reaffirmed: Auto

For example, auto loan

B. AMOUNTREAFFIRMED: $ 28,434.78

The Amount Reaffirrned is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising on or before 11/21/2018
Which is the date of the Disclosure Statement portion of this form (Part V).

,_

See the definition of “Amount Reajj”zrmed” in Part V, Section C below.

C. The ANNUAL PERCENTA GE RATE applicable to the Arnount Reaffirmed is 6.29 %.
See definition of “Annual Percentage Rate ” in Part V, Sectz`on C below.
This is a (check one) Fixed rate l:| Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.

 

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Forrn 2400A, Reaff`lrmation Documents Page 2

A. Reaffirmation Agreement Repayment Terms (check and complete one):

 

83 s442.76 per month for Lz_ months gaming en 2/1/2019.

 

 

 

Describe repayment terms, including Whether future payment amount(s) may be different from
the initial payment amount.

 

B. Describe the collateral, if any, securing the debt:
Description: 2018, Kia KNDPNSACOJ7399284
Current Market Value: $24,900.00

C. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?

 

$ Yes. What Was the purchase price f`or the collateral?$29,944.35

 

 

 

 

No. What Was the amount of the original loan? $

 

D. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement

Terms as of the Terms After

Date of Bankruptcy Reaffinnation
Balance due (inclua’ing
fees and cosls) $28,434.78 $28,170.5
Annual Percentage Rate @% @%
Monthly Payment $442.76 $ 442.76

 

E. : Check this box if the creditor is agreeing to provide you With additional future credit in connection With
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PART II. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

 

 

Check one. , Yes |: No

 

 

 

B. Is the creditor a credit union‘?

 

 

 

 

 

 

Check one. y y Yes X No

 

 

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Forrn 2400Aj Reaffirmation Documents Page 3

A. If your answer to EITHER question A. or B. above is “No,” complete l. and 2. below.

l. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions , 7, 4,0
(take-home pay plus any other income) $ § l 5/ & '9

b. Monthly expenses (including all reaffirmed debts except

this Ohe) _ s 33‘1""'1‘. ‘O
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $°2 7 7@- 50
d. Amount of monthly payment required for this reaffirmed debt $ Li“l?/,;N“’

If the monthly payment on this reazj?rmed debt (line d.) is greater than the amount you have available to
pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
of Undue Hara'ship. ” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardshl`p. ”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

 

 

 

You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

 

 

 

 

You can afford to make the payments on the reaffirmed debt even though your monthly income
is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

 

Use an additional page if needed for a full explanation

B. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

 

ii You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

 

 

 

Also, check the box at the top of page one that says “No Presumptl`on of Undue Hardship.”

 

 

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Form 2400A, Reaffirmation Documents Page 4

PART III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I hereby certify that:
(l) l agree to reaffirm the debt described above.
(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation
Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V

below;

_(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4) l am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5)' l have received a copy of this completed and signed Reaffirrnation Documents form.

SIGNATURE(S) (If this is a joint Reaffinna ' ” ement,botl…/IT sign.):
Date / l 27 // j Signatu e% / M "" / l
nw \

Joint Debtor, if any

 

Date Signature

Reaff`irmation Agreement Terms Accepted by Creditor:

Creditor M&T Bank 475 Crosspoint Pkwv Getzville, NY 14068
Print Name A ddress

Christina Ruggiero UMW§ lloilq
Print Name of Representative Signature ` Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

 

To be filed only if the attorney represented the debtor during the course of negotiating this agreement
l hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) l have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement

~ |:]A presumption of undue hardship has been established with respect to this agreement In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption ofundue hardship box is checked on page 1 and the creditor is not a Credit
Union.

Date /l 131 li Signature of Debtor’s Attorney/ZMM

/'~ ,
Print Name of Debtor’s Attorney /70/”11 J ‘ é (1¢~»€5 § m"’

m -“

 

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Form 24()()A, Reaffinnation Documents Page 5

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS T() DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (PartI
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

l. What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions 1

2. Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest Be sure you can
afford the payments that you agree to make.

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A “lien” is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. If the collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines

4. How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

5 . Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirrnation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.

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Form 2400A, Reaffirmation Documents Page 6

1. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and v

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
Reaffirrnation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
is filed with the court

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement you must file a motion See lnstruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirrnation Agreement You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement

2. What if you have questions about what a creditor can do‘.’ If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything The word “may” is used to
tell you what might occur if the law permits the creditor to take the action

B. INSTRUCTIONS

l. Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part l above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirrnation Agreement

3. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirrnation Agreement Cover Sheet (Official Bankruptcy Form 427).

5 . [f you are not represented by an attorney, you must also complete and j?le with the court a separate
document entitled “Motion for Court Approval of Reaffzrmation Agreement” unless your Reajj(irmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Forrn 24OOB to do this.

 

 

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Form 2400A, Reaffinnation Documents Page 7

A.

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure You should consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many of the creditor’s fees and charges You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers
were signed or on the monthly statements sent to you for an open end credit account such as a credit
card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(l)(A)(iv). lt is owned
and controlled by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U.” or “F.C.U.” in its name

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Ll_-_A_W' 553-M D-eps-14 1l17

RETA|L lNSTALLMENT SALE CONTF|ACT
SIMPLE FINANCE CHARGE

 

Dea|er Number 12868 Contract Number 8278 cgEs;{-t#' 17;§§:
Buyer Name and Address Co-Buyer Name and Addrees Seller-Credltor (Name and Addross)
(|ncludlng County and le Owe) (lnoludlng County and le Code)
THOMAS T0le BENSON N/A SHERWO°D KlA OF SAL|SBURV
42 ANCHOR WAV DH 1911 N SALISBURY BLVD
<B:‘E,RUN_, xgn?c‘:g_lmn SAL|SBL|R\'. MD 21801
M. 410-860-1100

 

 

 

   
 
  

 

You, the Buyer (and Co-Buyer, if any) may buy the vehicle below for cash or on credit. By signing this contract you choose to buy the vehicle o

credit under the agreements in this contract. You agree to pay the Seller- Creditor (sornetimes“ we’ or ""us in this contract). or. upon ‘ z `
the assignee of this contract the Amount Financed and Finance Charge in U S. funds according to the payment schedule belowa U ute
your finance charge on a daily basis. The Truth- |n- -Lending Disclosures below are part of this contract `

 

 

 

 

 

  

 

 

 

 

 

 

 

   
   
  
 
 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

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KlA otherwise induced
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ANNUE lN N E Amount Tota| of Total Sale ts.oo 1 - -
PERCENTAGE CHAR&E Financed payments price s _~_-_ *th check you give us is dphonored
RATE The dollar The amount of The amount you will The total cost of °'¥¥i€ MFBS€WT\B"L
The cost of amount the credit provided have paid afterayou your purchase on ;;
your credit as credit will to you or have made l cred|t. including 4 ' `
a ¥°a"y 'a‘°~ °°s' Y°°' °" Y°l" beha“" P:d¥:":"‘lsg° Y°‘-"' gm " APBL|CABLE LAW Federal law and
° u° ‘ paym , ryland law apply to this contract This
ntract shall be subject to the Credit
6.29 % $ 7247.49 $ 29944.35 $ 37191.84 Grantor C|osed Encl Credit F’rovislons
Your Payment Schedule Will Be: * (Subtitle 10) of Tit|e 12 of the Commercia|
Numbe, d mth o, when Paymems Law Article of the Maryiand Code.
Payments Payments Are Due 1__
Monthly beginning
34 442_76 SEFW|CING AND CCLLECTl°N QCNTACTS
¥ou agree that we may try lo contact you
in writing, by e-mai|, or using prerecorded/
or As Foltows: artificial voice messages, text messages_
N/A z » » and automatic telephone dialing systems,

as the law allows. You also agree that we
may try to contact you in these and other
ways at any address or telephone number
you provide us. even if the telephone
number is a cell phone number or the
contact results in a charge to you.

 

Late Chargo. ll payment is not received in full within 15 wis after it is due, you will pay a late charge

01 L% or me pan anne paymem mai is tate. win a minimum charge 01 s

Proplymen\. |f you pay early, you will not have to pay a penalty

Socurlty interest Vou are giving a secu®§gteteet in the vehicle being purchased

Addltlonal lnformatlon: See this comm for mona lnfom\ation includlng information about nonpayment
delau|t. any required repayment in full boone the scheduled date and seour'ny interest

__--__*

 

 

 

 

 

 

WARRANT|ES SELLER DlSCLAl`MS Used Car Buyers Guide. The information you see on

the window form for thls vehicle to part of this
contract information on the window form overrides
any contrary provisions in the contract of sale.

Spanfsh Translatlon: Guia para compradores de

 
  

covering th vehicle that the vehicle manufacturer may
provide. lt do not apply at all if you bought the vehicle
primarily for persona|, family. or household use

 

 

The following paragraph does not affect any warranties

Unleoe`§he seller makes a written warranty, or enters
into a service contract within 90 days from the date of
thin contract the Seller makes no warrantles, express
mr implied,i§n the vehicle, and there will be no implied
warrai?mco of merchantability or of fitness for a

 

 

vehiculos usados. Le informaclon que ve en el
formu|arlo de la ventanllla para este vehicqu forma
parte del presente contrato. La lnformaclon del
formu|arlo de le ventantlla dela oln efecto toda
dioposicidn en contrarlo contenlda en el contrato de
venta.

 

particular purpose.

 

MANUFACTURER‘S EXFHESS WARRANTY AND THE VEH|CLE DOES NOT CONFCRM TO THAT WARRANTY DUR|NG THE
WARRANT\' PER|OD, YOU MUST GlVE WR|TTEN NOT|CE OF THE NONCONFORM|TY, DEFECT OR COND|T|ON TO THE
MANUFACTURER QR FACTOFW BHANCH DUR|NG THE WARRANTY FER|OD BY CERT|F|ED MA|L, REI'URN RECE|FT
REQUESTED, IN ORDERTO PRESERVE YOUR Rle-l‘l'S UNDER THE MARYLAND AUTOMOTWE WARRANTY ENFORCEMENT

laich To euven(s) oi= NEw venici.as: IF You Ane punciiAsiNc A NEw venici.e winch is suBJEcT To A

ACT.

 

 

NOT|CE: ANY HOLDER OF TH|S CONSUMEH CRED|T CONTRACT IS SUBJECT TO ALL CLA|MS AND DEFENSES WH|CH
THE DEBTOR COULD ASSEHT AGA|NST THE SELLER OF GOODS OR SERV|CES OBTAlNED PURSUANT HERETO OR
WlTH THE FROCEEDS HEREOF. RECOVEFIY HEREUNDER B¥ THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY

THE DEBTCR HEREUNDER.

The preceding NOT|CE applies only to goods or services obtained primarily for personal, family, or household use. |n all other
cases, Buyer will not assert against any subsequent holder or assignee of this contract any claims or defenses the Buyer (debtor)
may have against the Seller. or against the manufacturer of the vehicle or equipment obtained under this contract

 

 

 

 

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|TEM|ZAT|ON CF AMOUNT FINANCED
t Cash Price
A cash Priee et Motnr vehicie (inciruing means servicesl and array s_ZEZL§§(Al
B Deaier Prooessing Charge (not required by law) $_____292.0.0 B)
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n outer s_____NlAiDl
To Whom Paid NlA
E other $___M iEl
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Less Pay Off Made By Seller $_szpl
Equais Net Trade ln $ ______0_.91
+ Cash $ __ALA_
, omar REBATE(S) $ _00
(11 total downpayment is negative enter 'o" ana see 41 helm $__2090.91 121
3 unpaid aeienee et cash Prine rt minus 21 s__ZlY£._B. 131
4 Other Charges Inciuding Amcunts Paid to Others cnwur Behaif
(Sel|er may keep part ct these amounts):
A Cost of Optional Credit insurance Paid to insurance
Compeny or Companies.
Life $ NlA
meaniii_iy $ NlA 5 NlA
B Vendors Sing|e interest insurance
Paid to insurance Company $ NlA
c otheroptionll' ranco Paidto‘ f` f , or Co nies 5 NlA
D Official Fees Paid to Govemment Agencies 5 lug
E GoremmentTa)tes Ncl included in Cash Price $ NlA
F Government Licerise and/or Flegistraticn Fees ,
ucENse FF.E s M
G Government Certiiiceie ot `|”itte Fees §
was s NlA eeeun_tyin_iereet centum iee) 3 : NlA
ii (_)pt_l_onai Gap Contract 3 ~» . »M:§OO

 

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to m for NlA `*i""§ NlA
to NlA for N/A j 5 NIA
lo m _ for gm l $ NlA
to mg for ma $ NlA
to snenwooo iti vi P Ellt MAt $__WLOO
to NlA g ga $ NlA
te ge br r_iyA 5 NlA
Tota| Other Chagee and Amcunls Paid to Others on Your Behalf $ gQ24.M (4)
Amcunt Fina 3 + 4 $_M (5)
OP‘NON: [:] Vou pay no finance charge if the Amcunt Financed. item 5, is paid in full on or before
_NM, Year NlA .sELLEe's 1N1T1Ai.s __ELA_

 

 

 

 

m VENDOR’S SIQ.E lNTEFiEST fNSUF\ANCE (VS| insuranoe): if the preceting box is checked, the Creditor requires VSl
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instance cotnpeny through which the vsl insurance ls nbteinel. |i you elect to pixdiase VS| visuanoe mrcugi the Creditur.
the costol this insurance la 5 A and also shown in item 413 ot the |mmimt'cn oiAmount Firianwd, The coverage
tire iiitia| term 01 the contract

 

 

 

 

 

0FT|0NAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain
credit and will not be provided unless you sign below and agree to pay the extra charge. if you choose
to buy a gap contract the charge is shown in item 4H cline itemization ot Amcunt Financod. See your
gap contract for details on the terms and conditions it provides. lt is a part of this contract

Term 84 Mos_ GAP COVERAGE
/ »"’ 7 Name of Gap Contract

,/ '
l want to buy/a gap contrac/

   

 

 

lneursnce. You may buy the physical damage
insurance this contract requires from anyone you
choose who is acceptable to us.¥eu are not required
to buy any other insurance to obtain credit unless the
box indicating Vendcr‘s Single interest is required is
checked below

li any insurance is checked below, policies or
certificates from the named insurance companies
will describe the terms and conditions

 

Check the lncurlnce you want end sign below:
Optional Credit lnsuranoe

l'_'] credit Lite-. [:|euyer |:|co-Buyer []aotn

|:l credit oisebiiity: |:l Buyer [| ceauye, |:| mt 13

Premium:
Credit L|fe $ NlA
credit disability $ W* `
insurance Company Name
N/A
Home Office Address

 

 

 

 

 

Credit life insurance end cr`;`odlt disability insurance are
not required to obtain credit tour decision to buy or not
buy credit life insurance and credt disability insurance

   
   
 

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will not be p you sign and agree to pay the
extra cost lt this insurance, the cost is

shown' in liens 4 the i$rriization ot Amcunt Financed

ita insgrxancew based on your original payment
§bls‘i§s urance may not pay all you owe on this

soonth if yost make late payments Credit disability

assurance does not cover any increase in your payment
or'ai the number of payments Coverage for credit lite
nsumnee and credit disability insurance ends on the
hat‘due date for the last payment unless a different
for the insurance is shown below

Other Optional insurance

 

 

 

 

 

 

ij NlA NlA
Typa of insurance Term
." ’ s N/A
insurance Company Name
NA
Home Olfice Address
NlA
NlA NlA
Type cf lnsiirance Term
Premium $ N/A
insurance Company Name
NlA
Home foice Address
N/A

 

Other optional insurance is not required to obtain credit
chr decision to buy or not buy other optional insurance
will not be a factor in the credit approval process it will
not be provided unless you sign and agree to pay me
extra cost

| want the insurance checked above

§W§g“n£aere__'!u§§te_~

X NlA NlA
Cc~Buyer Signature _"ETE'"~"

TH|S lNSURANCE DOES NOT lNCLUDE lN-
SURANCE ON YOUR LlAB|LiT¥ FCR BODILY
lNJURY OR PROPERTY DAMAGE CAUSED
TO OTHERS. WlTHOUT SUCH INSURANCE‘
\'OU |MY NOT OPERATE TH|S VEH|CLE ON
PUBL|C H|GHWAYS.

 

 

 

 

 

 

 

 

 

 

BuyerSi nsX / /
i/

Case 18-25361

OTHER IMPORTANT AGREEMENTS
1. FlNANCE CHARGE AND PAYMENTS

How we will figure Flnance Charge. We will figure
the Finance Charge on a daily basis at the Annual
Percentage Rate on the unpaid part of the Amount
Financed.

How we will apply payments. We` may apply each

payment to the earned and unpaid part of the

Finance Charge, to the unpaid part of the Amount
Financed and to other amounts you owe under this
contract in any order we choose.

How late payments or early payments change
what you must pay. We based the Finance Charge.
Totai of Payments, and Tota| Sale Price shown on
page 1 of this contract on the assumption that you will
make every payment on the day it is due. Your
Finance Charge, Total of Payments, and Tota| Sale
Price will be more if you pay late and less if you pay
early. Changes may take the form of a larger or
smaller final payment or, at our option, more or fewer
payments of the same amount as your scheduled
payment with a smaller final payment We will send
you a notice telling you about these changes before
the final scheduled payment is due.

You may prepay. You may prepay all or part of the
unpaid part of the Amount Financed at anytime without

_ penalty. |f you do so, you must pay the earned and
"unpaid part of the Finance Charge and ali other

amounts due up to the date of your payment.

 

2. YOUR OTHER PROM|SES TO US

if the vehicle _ia damaged, deetroyed, or mls_sing.
Vou agree to` pay us"a|i you owe under this contract
even if the vehicle is damaged, destroyed. or missing
Using the vehicle. You agree not to remove the vehi-

cle from the U.S. or Canada. or to selll rent. iease. or s z

transfer any interest in the vehicle or this contract

without our written permission. You agree not t€',;,

expose the vehicle to misuse, seizure, confiscaka
or involuntary transfer. if we pay any repei`§
storage bills, taxes, fines, or charges on the vehicle.
you agree to repay the amount when we ask for it.
Security interest.
You give us a security interest in:
- The vehicle and aliparts or goods put on it;
~ A|l money or goods received (proceeds) for the
vehicle;
¢ All' insurance, maintenance service, or other con-
tracts we finance for you; and
' All proceeds from insurancel maintenance, ser-
vice, or Mcontracts we finance for you. This
includes any refunds of premiums or charges from
- the contracts
Thissecures payment of all you owe on this contract
lt also secures your other agreements in this contract.
You will make sure the title shows our security interest
(iien) in the vehicle. Vou will not allow any other
security interest to be placed on the title without our
written permission
insurance you must have on the vehicle.
You agree to have physical damage insurance cover-
ing loss ot or damage to the vehicle for the term of
this contract The insurance must cover our interest in
the vehicle. if you do not have this insurance, we may,
if we choose, buy physical damage insurance. if we
decide to buy physical damage insurance, we may
either buy insurance that covers your interest and our
interest in the vehiclel or buy insurance that covers
only our interest. if we buy either type of insurance,
we will tell you which type and the charge you must
pay. The charge will be the premium for the insurance
and a finance charge computed at the Annua|
Percentage Rate shown on page 1 of this contract or,
at our option, the highest rate the law permits
if the vehicle is lost or damaged, you agree that we
mav use anv insurance settlement to reduce what

   

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What happens to returned insurance, mainte-
nance, service, or other contract charges. li we get
a refund of' insurance, maintenance, service or other
contract charges, we may subtract the refund from
what you owe.

 

3. IF YOU PAY LATE OH BFtEAK YOUR OTHER PROM|SES

¢.

You may owe late charges. if a payment is not
received in full within 15 days after lt is due, you
will pay a late charge of 10% of the part of the
payment that is late, with a minimum charge cf$$
Acceptance of a late payment or late charge does not
excuse your late payment or mean that you may keep
making late payments
if you pay late, we may also take the steps descabed
below.
You may have to pay ali you owe ice. if you
break your promises (default), we may demand that
you pay ali you owe on this contract at once, subject
to any right the law gives you to reinstate this contract
Defau|t means:
- You do not pay any payment on time;
» You give faise, lncon§lew, or misleading information
on a credit application;
~ You start a ` ceding in bankruptcy or one is

 

  

v You breakv any`agreements in this contract.

The amount you wm owe will be the unpaid part of the
Amcunt Financed plus the earned and unpaid part of
thaFinance Charge, any late charges, and any amounts
due bcoacse you defaulted

Vlw may have to pay collection costa. lf we hire an
attorney to collect what you owe, you will pay the
attorney's reasonable fee, as the law ailows. You will
also pay any court and collection costs we incur as the
law allows.

We may take the vehicle from you. lt you defau|t, we
may take (repossess) the vehicle from you if we do so
peacefully and the law allows it. We may repossess the
vehicle with or without resort to judicial process. if your
vehicle has an electronic tracking device, you agree
that we may use the device to find the vehicle. if we
take the vehicle. any accessories, equipment, and
replacement parts will stay with the vehicle. if any
personal items are in the vehicle. we may store them
for you at your expense. |f you do not ask for these
items baok, we may dispose of them as the law allows.
How you can get the vehicle back if we take it. if we
repossess the vehiclel in many situations, the law gives
you the right to pay to get it back. We will tell you what
you have to do to get the vehicle back.

We will sell the vehicle if you do not get it back. if
you do not do what is required to get the vehicle back,
we will sell the vehicle. We will send you a written
notice of sale before selling the vehicle.

We will apply the money from the sa|e, less allowed
expenses, to the amount you owe, Aiiowed expenses
are expenses we pay as a direct result of taking the
vehicle. holding it, preparing it for sa|e, and selling it as
the law ailows. Attorney fees and court costs the law
permits are also allowed expenses. if any money is left
(surp|us), we will pay it to you unless the law requires
us to pay it to someone else. if money from the sale is
not enough to pay the amount you owe, you must pay
the rest to us unless the law provides otherwise if you
do not pay this amount when we ask, we may charge
you interest at a rate not exceeding the highest lawful
rate until you pay.

What we may do about optional insurance, mainte-
nance, service, or other contracts. Thls contract may
contain charges for optional insurancel maintenance,
service. or other contracts. if we demand that you pay
all you owe at once or we repossess the vehicle. you
agree that we may claim benefits under these contracts
and cancel them to obtain refunds of unearned
charges to reduce what you owe or repair the vehicle.
lf the vehicle is a total loss because it is confiscated,

.1-_......_..| -.. _a_l-_ ..... _,._. _l.~: ..._ \__.....£:¢.. . ._A.`_al..~.~»

 

 

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NO COOL|NG OFF PER|OD
State law does not provide for a “cooling otf" or cancellation period for this sale. Atter you sign this
contract, you may only cancel it ii the seller agrees or for legal cause. You cannot cancel this contract
simply because you change your mind.Thls notice does not apply to home solicitation sales.

The Annual Percentage Rate may be negotiable with the Seller.` The Seller may assign this contract
and retain Its right to receive a part of the Finance Charge. ‘

iiOW THS CONTRA¢T CAN BE CHANGED. '|his contractl along with all other documents signed by you in connection with the purchase ot this vehicle. comprise the entire
ageement between you and us aftecting this purchase Ngora a ~ e » s are binding Upon assignment cl this contract ('1) only this contract and the addenda
to this contract comprise the entire agreement between / ` . ` 1 »

and (iin nn °'3' dianli% int binding Buyer Sign[ » ’ c Signs NlA » """ `
lt any part ot his contracts not valid, all other r@ns stay valid We may '?-."'or retain irorn e v cing any ot our rights under this contract without losing them. For example we
may extend the time for maleng some paymems‘néltout extending the time lor making others.

See the rest ot this contract tor other 1mpomntmgreements \\\\\

NOT|CE TO RETA|L BUYER: Do not sign this contract in blank. ¥ou are entitled to s copy ot the contract at the time
you sign. Keep lt to protect your legal rlghts. v

You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you were
free to take it and it. You cent r that you received a completely filled-in copy when you signed it,

 

 

 

 

  
   

   

 

  
 
  

 
 
 

18 Co-Buyer Signs x N/A Date NlA

Co~Buyers and Other Ownere - A ris a person who 15 remnsible tcr paying the entire debt An other owner is a person whose names on the title to the vehicle but does not have to
pay the debt The other omner agrees thesecurity interest' 1n the vehicle given to us in this contract

 

 

 

 

 

 

 

 

 

 

 

 

 

Other owner signs here x NlA
Sa||er Signs 3 OD K|A SAL| B Date_MDllZDJL By
Sel|er assigns its interest in this contract to M & T BANK 4 `:>"'(Aseigneei under the terms cl Se|ler‘s agreement(s) with Asslgnee.
[] Assigned with recourse [Xl Assigned without recourse » i:i Assigned with limited recourse

EFl Fl NAGE
hue

 

Se||er SHERWOOD KlA OF SALlSBUFW

 

 

 

 

 

